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   Director of Compliance and Title IX Coordinator at New Mexico Highlands University
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     Words cannot express how happy I am for my son. We've been keeping this quiet for
     five months. So grateful for his trust during this process and…
     Liked by Ruth Mariampolski




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     team who won the 4th National Medical-Legal Mock Trial Competition…
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     Experience
                   Director of Compliance and Title IX Coordinator
                   New Mexico Highlands University
                   Mar 2020 - Present · 4 years 3 months
                   Las Vegas, New Mexico
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                   1. Intake and investigation of complaints alleging discrimination, including complaints
                   under Title VII, the ADA, and Title IX.
                   2. For non-Title IX matters, conduct investigations and write determinations which
                   inform the President of the University of investigation findings and recommend a
                   resolution.
                   3. For Title IX matters, serve as Title IX Coordinator and Title IX Investigator.
                   4. Policy development relating to Title IX procedures under the 2020 Title IX Final Rule.
                   5. Creation and implementation of training programs related to Title IX and other
                   antidiscrimination law, applicable to students, faculty, staff, and administration.
                   6. Provide research and expertise to Human Resources on employment law issues.

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                   EEO Attorney (Agency Attorney III)
                   New York City Fire Department
                   May 2017 - Jan 2020 · 2 years 9 months
                   Greater New York City Area
                   1. Conduct investigations of EEO complaints made by employees and citizens by
                   interviewing witnesses and examining documentary evidence.
                   2. Write determinations which inform the Fire Commissioner of investigation findings
                   and recommend a resolution.
                   3. Provide classroom-based EEO training to Fire Officers, Firefighters, Paramedics, and
                   EMTs.
                   4. Lead compliance inspections of fire houses and EMS stations.
                   5. Coordinate with the Bureau of Investigations and Trials and the Legal Affairs
                   divisions.

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                   NYC Administration for Children's Services
                   3 years 11 months

                   Agency Attorney III / Hearing Officer
                   Mar 2016 - May 2017 · 1 year 3 months
                   Office of the General Counsel - Employment Law Unit
                   This position had five major tasks:

                   1. Investigate and respond to allegations of discrimination under Title VII, the ADA, the
                   New York State Human Rights Law, and the New York City Human Rights Law on
                   behalf of ACS by writing and filing position statements with the appropriate agency.
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                   2. Act as the Hearing Officer in Step I and Step II grievance hearings. These initial
                   hearings occur when an employee has been charged with misconduct and wishes to
                   dispute the charges through a process established by their collective bargaining
                   agreement. In Step 1 Hearings I make a limited determination as whether the charges
                   are supported by evidence and recommend a penalty for all the supported charges
                   taken together. In Step 2 Hearings each side has the opportunity to present evidence
                   and culminates in a written finding of fact and recommendation to the General
                   Counsel.

                   3. Hire and supervise law student Interns, including interviewing, selecting,
                   coordinating their personnel matters, directing their projects, and providing both one-
                   on-one feedback about their work and written feedback as required by their law
                   school.

                   4. Contribute to policy on a number of topics, and provide legal research on an ad hoc
                   basis to departments within ACS that have employment-related legal questions.

                   5. Act as a liason with the Law Department in litigation cases.

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                   Agency Attorney II / Hearing Officer
                   Oct 2014 - Mar 2016 · 1 year 6 months
                   Office of the General Counsel - Employment Law Unit
                   This position had three major tasks:

                   1. Investigate and respond to allegations of discrimination under Title VII, the ADA, the
                   New York State Human Rights Law, and the New York City Human Rights Law on
                   behalf of ACS by writing and filing position statements with the appropriate agency.
                   All findings were in the Agency's favor.

                   2. Act as the Hearing Officer in Step I and Step II grievance hearings. These initial
                   hearings occur when an employee has been charged with misconduct and wishes to
                   dispute the charges through a process established by their collective bargaining
                   agreement.

                   3. Contribute to policy on a number of topics, including revisions to the Employee
                   Code of Conduct, Cell Phone Policy, and Sexual Harassment Policy, and provide legal



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                   research on an ad hoc basis to departments within ACS that have employment-related
                   legal questions.

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                   Agency Attorney
                   Jul 2013 - Oct 2014 · 1 year 4 months
                   Office of the General Counsel - Employment Law Unit
                   This position had three major tasks:

                   1. Investigate and respond to allegations of discrimination under Title VII, the ADA, the
                   New York State Human Rights Law, and the New York City Human Rights Law on
                   behalf of ACS by writing and filing position statements with the appropriate agency.
                   All findings on my position statements were in the agency's favor.

                   2. Prosecute employee misconduct and unfitness cases under Civil Service Law
                   sections 75 and 72. This involved investigation of potential misconduct, incompetence,
                   or unfitness; determining whether to charge; drafting charges; representing the agency
                   at conferences; making settlement recommendations; and conducting disciplinary
                   hearings at the Office of Administrative Trials and Hearings.

                   3. Contribute to policy on a number of topics, including revisions to the Employee
                   Code of Conduct, and provide legal research on an ad hoc basis to departments within
                   ACS that had employment-related legal questions.

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                   Agency Attorney / Law Clerk
                   NYC Office of Administrative Trials & Hearings
                   Mar 2010 - Jul 2013 · 3 years 5 months
                   New York, NY
                   • Specialized in legal research and draft opinions for the Administrative Law Judges of
                   New York City's central Administrative tribunal.

                   • Wrote on NY Civil Service Law matters and many areas of New York City regulatory
                   law, including taxi/for-hire vehicles, commercial garbage hauling, building code, and
                   loft law. Appellate matters included contract dispute appeals, and appeals of marriage
                   license denials.



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                   • Other ongoing writing projects included writing a monthly newsletter highlighting
                   cases of interest and annotations for relevant City laws and regulations.

                   • Provided legal research, editing, and cite checking for ALJ training materials and
                   information provided to pro se litigants.

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                   Freelance Proofreader/Copyeditor
                   KaplanPMBR
                   Sep 2009 - Oct 2009 · 2 months
                   Proofread print materials (New York topics) used in Kaplan's Bar Review course.


                   Legal Intern
                   Nassau County Legal Aid Society
                   Jan 2009 - Apr 2009 · 4 months
                   Hempstead, NY
                   • Assisted attorneys in criminal courtroom proceedings including arraignments and
                   pleas; conducted brief factual interviews as needed with clients; conducted legal
                   research and drafted motions.


                   Legal Intern
                   The Pagan Law Firm PC
                   May 2008 - Jul 2008 · 3 months
                   New York, NY
                   • Drafted motions for ongoing cases and memoranda of law for ongoing and pending
                   trials.

                   • Conducted research on a wide variety of topics in support of trial, appeals, and
                   motion practice, including appellate procedure, spoliation of evidence, employment
                   discrimination, civil rights violations, and jury instructions.

                   • Drafted brief for an appeal to the NYS Appellate Division (1st Dep't).


                   • worked at same firm May 2007 - July 2007.


                   Barn Manager / Riding Instructor
                   Touch Point Farm
                   Aug 2004 - Aug 2006 · 2 years 1 month
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                   Culpeper, VA
                   • Managed 35 horses at boarding barn. Tasks included: daily feed and turnout;
                   assisting vet, farrier, and equine dentist; barn maintenance and organization;
                   dispensing medications and nutraceuticals; injury care.

                   • Taught riding lessons for children and adults ages 5-55, beginners to intermediate.
                   My lessons included riding instruction, discussion of safety principles, and the
                   fundamentals of horse care. My goal as a teacher was to develop safe, confident,
                   independent riders who are secure both in and out of the ring.

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                   Content Editor - Books
                   Borders Group, Inc.
                   1998 - 2004 · 6 years
                   Ann Arbor, MI
                   • Sole responsibility within both the Borders & Waldenbooks chains for marketing
                   copy relating to Science Fiction, Fantasy, Manga, Romance, Mystery, and Thriller
                   genres. Ongoing projects included national advertising, in-store magazines, direct
                   email marketing programs and website features.


                   • The Romance genre accounts for 50% of all fiction books sold; the Manga genre
                   (Japanese style graphic novels) is the fastest growing category in paperback fiction.

                   • Joined Borders in April 1998 as a Customer Service Representative; was promoted 3
                   times in 6 years.

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     Education




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                   Hofstra University School of Law
                   JD
                   2006 - 2009
                   Activities and Societies: Immigration Defense Clinic, Courtroom Advocate's Project,
                   Hofstra Labor & Employment Journal
                   Senior Notes & Comments Editor, Hofstra Labor & Employment Journal


                   The College of William and Mary
                   BA · Anthropology; Theater minor
                   1993 - 1997
                   Activities and Societies: Campus Newspaper (The Flat Hat), Equestrian Team,
                   Sinfonicron Light Opera Company, Center for Archaeological Research employee,
                   Swem Library Collection Development employee.


                   Stuyvesant High School
                   -
                   1989 - 1993
                   Activities and Societies: SING!; Morgen-Walke Assoc., public relations intern




     Languages
       English
       Native or bilingual proficiency


       American Sign Language
       Limited working proficiency




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